                                     UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
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                                                                    www.flsb.uscourts.gov
                                                        CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                                     Original Plan
                              ■    2nd                                       Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                             Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

     DEBTOR: Margareth Clara Santos                             JOINT DEBTOR:                                         CASE NO.: 23-19975-CLC
     SS#: xxx-xx- 4368                                             SS#: xxx-xx-
     I.          NOTICES
                 To Debtors:          Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                      modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                      Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                      the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:           Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                         be reduced, modified or eliminated.
                 To All Parties:      The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                      on each line listed below in this section to state whether the plan includes any of the following:
       The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                           Included            ■   Not included
       partial payment or no payment at all to the secured creditor
       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                           Included            ■   Not included
       out in Section III
       Nonstandard provisions, set out in Section IX                                                                   ■   Included                Not included
    II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

                A.       MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.   $313.64                  for months   1       to 36 ;

                B. DEBTOR(S)' ATTORNEY'S FEE:                                                 NONE             PRO BONO
             Total Fees:                 $5,200.00           Total Paid:               $1,625.00          Balance Due:          $3,575.00
             Payable               $172.36            /month (Months 1       to 20 )
             Payable               $127.80            /month (Months 21 to 21 )
             Allowed fees under LR 2016-l(B)(2) are itemized below:
             Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.        TREATMENT OF SECURED CLAIMS                            ■   NONE
    IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                      NONE
                A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: ■ NONE
                B. INTERNAL REVENUE SERVICE:                               NONE
                        Total Due:              $3,957.21              Total Payment               $3,957.21
                        Payable:            $109.92         /month (Months        1      to 36 )


                C. DOMESTIC SUPPORT OBLIGATION(S): ■ NONE
                D. OTHER:            ■    NONE



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V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                         NONE
                 A. Pay         $44.56        /month (Months 21          to 21 )
                    Pay         $172.36       /month (Months 22          to 36 )
                    Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.         If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                   ■   NONE
VI.         STUDENT LOAN PROGRAM                      ■   NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                      NONE
      Secured claims filed by any creditor/lessor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                 ■ Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
                    terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
                    herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

                  Name of Creditor                        Collateral                          Acct. No. (Last 4 Digits) Assume/Reject
                  Leeann J Mcbrayer                       19390 COLLINS AVE, UNIT             4368
            1.                                            212, Miami Beach, FL 33160                                     ■ Assume       Reject
VIII.       INCOME TAX RETURNS AND REFUNDS:
                    ■   The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                        annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                        Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                        provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                        increases by more than 3% over the previous year’s income. [Miami cases]
IX.         NON-STANDARD PLAN PROVISIONS                 NONE
            ■ Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                  Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
                  before confirmation.
                   Mortgage Modification Mediation


                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                             Debtor                                                                Joint Debtor
  Margareth Clara Santos                                         Date                                                                    Date



  /s/ Jose A. Blanco, Esq.                       December 19, 2023
                                                          Date
     Attorney with permission to sign on
     Debtor(s)' behalf who certifies that
      the contents of the plan have been
        reviewed and approved by the
                 Debtor(s).1

   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph IX.


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1This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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